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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

STRIKE 3 HOLDINGS, LLC,                        §
                                               §
                      Plaintiff,               §
                                               §
       v.                                      §
                                                   Case No. 3:23-cv-01669-B
                                               §
JOHN DOE, subscriber assigned IP address       §
24.170.6.13,                                   §
                                               §
                      Defendant.               §

                  MOTION FOR LEAVE TO SERVE A THIRD-PARTY
                  SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE

       Pursuant to Fed. R. Civ. P. 26(d)(1), and upon the attached: (1) Memorandum of Points

and Authorities in support of this motion; (2) Declaration of David Williamson in support of this

motion; (3) Declaration of Patrick Paige in support of this motion; and (4) Declaration of Susan

B. Stalzer in support of this motion, Strike 3 Holdings, LLC (“Strike 3”), respectfully moves for

entry of an order granting it leave to serve a third party subpoena on Spectrum, prior to a Rule

26(f) conference (the “Motion”).




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Dated: 10/27/2023                          Respectfully submitted,


                                           By: /s/ Paul S. Beik_____
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                                                ATTORNEYS FOR PLAINTIFF
                                                STRIKE 3 HOLDINGS, LLC

                                Certificate of Non-Conferral

      Because Plaintiff does not at this time know the identity of Doe Defendant, Plaintiff was

unable to confer with Defendant or his or her counsel regarding the present Motion.



                                                         /s/ Paul S. Beik




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